Case 1:14-cv-22852-UU Document 46 Entered on FLSD Docket 11/19/2014 Page 1 of 7



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      (Miami Division)

                                CASE NO. 14-22852-CV-UNGARO

  JORGE GUTIEREEZ, et al.

          Plaintiffs,
  vs.

  SEASALT AND PEPPER, LLC, CARLOS
  MIRANDA, AND STEPHANE DUPOUX,

          Defendants.


           DEFENDANTS SEASALT AND PEPPER’S, CARLOS MIRANDA’S,
          AND STEPHANE DUPOUX’S REPLY TO DEFENDANT’S RESPONSE
            IN OPPOISITION TO PLAINTIFF’S AMENDED COMPLAINT

        Defendants, Seasalt and Pepper, LLC (“Seasalt and Pepper”), Carlos Miranda, and

 Stephane Dupoux (collectively, “Defendants”), by and through undersigned counsel and pursuant

 to L. R. 7.1 and Federal Rule of Civil Procedure 12(b)(6), files this response to Plaintiff’s Response

 in Opposition to Defendants’ Motion to Dismiss, ECF No. 44, and states as follows:

 I.     INTRODUCTION

        Plaintiff’s opposition to the motion to dismiss is infected by several contradictions. It

 selectively enforces the pertinent FLSA provisions and DOL regulations. It ignores 29 C.F.R.

 §531.60 in connection with Plaintiff’s FLSA overtime claim while it seeks to enforce 29 C.F.R.

 §531.52. It seeks damages on an unjust enrichment claim while also invoking the remedies under

 section 216 of the FLSA, a statute that preempts his unjust enrichment claims.

        For the reasons stated below, Defendants’ motion to dismiss should be granted.
Case 1:14-cv-22852-UU Document 46 Entered on FLSD Docket 11/19/2014 Page 2 of 7



 II.    LEGAL ARGUMENT

        A. Plaintiff’s FLSA Claim Fail As A Matter Of Law

        As a preliminary matter, the First Amended Complaint establishes that Defendants hired

 Plaintiff Gutierrez to work as a non-exempt tipped employee, that he was paid a hourly wage of

 $8.0 in addition to a portion of tips which Plaintiff and other tipped employees received from

 Defendants’ patrons, that he worked in excess of forty (40) hours within a work week, and that he

 was paid a rate of $12.75 per hour for the hours he worked over forty in a work week. FAC, ECF

 No. 41 at ¶¶36, 37, 41, and 48. The allegations of the complaint conclusively establish, and

 Plaintiff cannot and does not dispute, that he was paid one and half time his hourly wage of all

 hours worked in excess of forty (40) hours in a workweek. As such, the only dispute between the

 parties is whether Defendants were required to include the tips in calculating Plaintiff’s regular

 rate of pay for purposes of the overtime requirements under the FLSA.

        Plaintiff argues that Defendants violated section 203(m) of the FLSA by failing to include

 Plaintiff’s tips in the calculation of Plaintiff’s regular rate of pay for purposes of calculating his

 overtime compensation. FAC at ¶49 and ECF No. 45 at 5. The problem with this argument is that

 it is inconsistent with section 203(m) of the FLSA and the Department of Labor (DOL) Regulation

 Implementing it, 29 C.F.R. §531.60. Section 203(m) require Defendants to either pay Plaintiff a

 regular rate of pay that equals or exceeds the federal minimum wage, or to pay Plaintiff a minimum

 hourly wage of $2.13 plus a share of the gratuity collected from the patrons that make up for the

 difference between the hourly rate and the federal minimum wage (commonly known as “credit

 tip”). 29 U.S.C. §203(m). DOL regulation 531.60 provides, “Any tips received by the employee

 in excess of the tip credit need not be included in the regular rate. Such tips are not payments made

 by the employer to the employee as remuneration for employment within the meaning of the Act.

 29 C.F.R. §531.60

                                                   2
Case 1:14-cv-22852-UU Document 46 Entered on FLSD Docket 11/19/2014 Page 3 of 7



        Here, the First Amended Complaint clearly establishes that Plaintiff was paid an hourly

 wage that exceed the federal minimum wage, and as such, Defendants were not required to include

 Plaintiff’s share of the tips in calculating his regular rate of pay. Rodriguez v. Carey Intern., Inc.,

 2004 WL 5582173 at *7 (S.D. Fla. 2004) (“29 C.F.R. Section 531.60 provides that in general, tips

 not paid by the employer … need not be included in calculating the regular rate paid to the

 employee”); Betro v. Commonwealth Limousine Serv., Inc., 2013 WL 3929785 at *10 (D. Mass

 Jul. 25, 2013) (“when an employer is not using a “tip credit” to meet the FLSA's minimum wage

 provision, any tips received by the employee “need not be included in the regular rate”). Given

 that Defendants were not required to include Plaintiff’s share of the tips in calculating his regular

 rate of pay coupled with the fact that they paid him one and half time his hourly rate, Defendants

 have not violated the overtime requirements of the FLSA.

        B. Plaintiff’s Claim under 29 C.F.R. §531.52 Is Inconsistent with section 203(m) of
           the FLSA.

        Plaintiff argues that 29 C.F.R. §531.52 is a valid exercise of the DOL’s rule making

 authority to fill a statutory gap created by an ambiguity in section 203(m). ECF No. 45 at 5 – 9.

 Plaintiff goes on to argue that 29 C.F.R. §531.52 is entitled Chevron deference because it is not

 explicitly contradicted by the statutory language of section 203. This argument was rejected in

 Oregon Restaurant and Lodging v. Solis, 948 F. Supp. 2d 1217 (D. Or. 2013). In Oregon

 Restaurant and Lodging, Judge Mosman stated:

        I cannot agree. Woody Woo squarely addressed the question of whether Congress
        intended to limit the use of tips by the employers of tipped employees when no tip
        credit is taken. The Court was presented with the very argument made by the DOL
        in this action, “that under section 203(m), an employee must be allowed to retain
        all of her tips—except in the case of a ‘valid’ tip pool involving only customarily
        tipped employees—regardless of whether her employer claims a tip credit.” And
        the Court didn't buy it. Rather, based on the clear and unambiguous text of the
        statute, the Court found that Congress intended only to limit the use of tips by
        employers when a tip credit is taken. This is not silence. This is repudiation.
        Therefore, I find that Woody Woo leaves no room for agency discretion here.

                                                   3
Case 1:14-cv-22852-UU Document 46 Entered on FLSD Docket 11/19/2014 Page 4 of 7




 Id. at 1224.

        Presented with the same Chevron argument, the Southern District of New York in Trinidad

 v. Pret A Manger (USA) Ltd., 962 F. Supp. 2d 545 (S.D. N.Y. 2013) stated, “The DOL regulations

 are contrary to the plain language of § 203(m). The holding of Woody Woo was based on the plain

 language of § 203(m), and DOL's intervening regulations are based on a repudiation of the

 reasoning in Woody Woo.” Id. at 562.

        Alternatively, Plaintiff argues that DOL regulation 531.52 is consistent with section

 203(m) and well-established FLSA precedent that tips belong to employees regardless of whether

 the employer takes a tip credit or not. ECF No. 45 at 9 – 10. This argument is plain wrong. Indeed,

 in Chan v. Triple 8 Palace, Inc., 2006 WL 851749 at *15 (S.D. N.Y. Mar 30, 2006), a case relied

 on by Plaintiff, the Southern District of New York stated, “[T]o the extent plaintiffs rely on federal

 law [section 203(m)], they can prevail only if defendants have relied on the tip credit”); Chung v.

 New Silver Palace Restaurant, Inc., 246 F. Supp. 2d 220, 230 (“Congress gave employers of tipped

 employees a simple choice: either allow employees to keep all the tips that they receive, or forgo

 the tip credit and pay them the full hourly minimum wage”).

        Here, even if the Court were to hold that 29 C.F.R. §531.52 is a valid exercise of rule-

 making authority by the DOL (which it is not), Plaintiff’s claim still fails because the First

 Amended Complaint undisputedly establishes that Defendants have not taken a tip credit.

        C. Plaintiff Is Not Entitled To Declaratory Relief.

        Plaintiff argues that his claim for declaratory relief should be allowed to move forward to

 benefit current employees of Defendant’s restaurant Seasalt and Pepper. The problem with this

 argument is twofold. First, Plaintiff, as a former employee of Defendants’ Restaurant, is not

 entitled to declaratory relief. Briggs v. Arthur T. Mott Real Estate LLC, 2006 WL 3314624 at *3



                                                   4
Case 1:14-cv-22852-UU Document 46 Entered on FLSD Docket 11/19/2014 Page 5 of 7



 (E.D. N.Y. Nov. 14, 2006) (“Briggs was no longer an employee of Defendant when this action

 was commenced and fails to allege that he was either discharged or discriminated against for filing

 this action. He is therefore not entitled to equitable relief, which includes declaratory relief”). The

 fact that Plaintiff brought this action on behalf of himself and other similarly-situated former and

 current employees does not change the fact that he is a former employee and the “class” does not

 currently include current employees of the Restaurant.

        Second, federal courts, as courts of limited jurisdiction, will enter declaratory judgment

 when declaratory relief will achieve a useful objective. Cook Cnty. Legal Assistance Foundation

 v. Pauken, 573 F. Supp. 231, 233 (N.D. Ill 1983) (citing Spivey v. Barry, 665 F. 2d 1222 (D.C. Cir.

 1981). Here, declaratory judgment would not serve a useful purpose because Plaintiff’s FLSA

 claim fail as a matter of law. Brooks v. Village of Lincolnwood, 620 F. Supp. 24, 27 (N.D. Ill 1985).

        D. Plaintiff’s State And Common Law Claims Are Preempted By The FLSA

        Plaintiff argues that his unjust enrichment claim is not preempted by section 216 of the

 FLSA because these state law claims are independent of and are plead in the alternative to the

 FLSA violation. ECF No. 45 at 13. This argument fails for two separate and independent reasons.

 First, Plaintiff’s unjust enrichment claim is not independent of the FLSA violation. FAC at 102

 (Defendants’ alleged violation of 29 C.F.R. §531.52 form the basis for the unjust enrichment

 claim). As Chief Judge Moreno stated in Bule v. Garda CL Southeast, Inc., 2014 WL 3501546 at

 *2 (“a plaintiff may not plead under a theory of unjust enrichment to avoid the statutory framework

 of the FLSA”). Second, Plaintiff’s unjust enrichment also fails as a matter of law. Merle Wood &

 Assocs., Inc. v. Trinity Yachts, LLC, 714 F. 3d 1234, 1237 (11th Cir. 2013) (in order to state a valid

 claim for unjust enrichment, plaintiff must allege that (1) he conferred a benefit on the defendant,

 (2) the defendant must have knowledge of the benefit, (3) the defendant must have accepted or

 retained the benefit conferred, and (4) the circumstances must be such that it would be inequitable

                                                   5
Case 1:14-cv-22852-UU Document 46 Entered on FLSD Docket 11/19/2014 Page 6 of 7



 for the defendant to retain the benefit without paying fair value for it).

        Here, Plaintiff did not confer a benefit on Defendants as he was employed by Defendants

 and compensated for the work he performed. Plaintiff did not pay the gratuity charges that he now

 claims Defendants have retained. Plaintiff, in essence, is asking the court to return to him a benefit

 which he did not confer. As such, Plaintiff’s unjust enrichment fails as a matter of law.

        Plaintiff also argues that he has standing under Fla. Stat. §501.211 to bring a FDUPTA

 claim because of the broad definition of the term “person” under the statute. ECF No. 45 at 15.

 This argument fails because the Eleventh Circuit requires probable deception likely to cause injury

 to a reasonable relying consumer. Zlotnick v. Premier Sales Grp., Inc., 480 F. 3d 1281, 1284 (11th

 Cir. 2007). Plaintiff was an employee, not a consumer of Defendant’s Restaurant. He did not rely

 on and has not suffered damages as a result of Defendant’s unfair and deceptive trade practices.

 III.   CONCLUSION

        Based on the foregoing, Defendants Seasalt and Pepper, LLC, Carlos Miranda and

 Stephane Dupoux respectfully asks that the Court enter an Order (i) dismissing Plaintiff Jorge

 Gutierrez’s Amended Complaint in its entirety, and (ii) granting such further relief as is just and

 appropriate.

                                                Respectfully submitted,

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                                                   6
Case 1:14-cv-22852-UU Document 46 Entered on FLSD Docket 11/19/2014 Page 7 of 7



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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 18, 2014, I electronically filed the foregoing

 document with the Clerk of Court using CM/ECF, which will send a notice of filing to the

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                                            7
